Case 1:24-cv-04108-ALC Document 3-12 Filed 05/30/24 Pagelof5

ORIGINAL

IMPORTANT!! YOU ARE BEING SUED!! THIS IS A COURT PAPER-A
SUMMONS DON'T THROW IT AWAY!! TALK TO A LAWYER RIGHT AWAY!
PART OF YOUR PAY CAN BE TAKEN FROM YOU (GARNISHED). IF YOU DO
NOT BRING THIS TO COURT, OR SEE A LAWYER, YOUR PROPERTY CAN BE
TAKEN AND YOUR CREDIT RATING CAN BE HURT!! YOU MAY HAVE TO
PAY OTHER COSTS TOO!! IF YOU CAN'T PAY FOR YOUR OWN LAWYER
BRING THESE PAPERS TO THIS COURT RIGHT AWAY. THE CLERK
(PERSONAL APPEARANCE) WILL HELP YOU!! THIS COMMUNICATION IS
FROM A DEBT COLLECTOR AND IS AN ATTEMPT TO COLLECT A DEBT.
ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

CIVIL COURT OF THE CITY OF NEW YORK

COUNTY OF BRONX
INDEX NUMBER: (5361
SYNCHRONY BANE S&S FILE NO. G1756067
PLAINTIFF,
-AGAINST- SUMMONS
ERIKA N WILSON Plaintiff's address: 170 ELECTION RD SUITE 125,
DEFENDANT. DRAPER, UT 84020

The Basis of the Venue Designated is Defendant's
Residence

TO THE ABOVE NAMED DEFENDANT(S): YOU ARE HEREBY SUMMONED to appear in

the CIVIL COURT OF THE CITY OF NEW YORK, COUNTY OF BRONX at the office of the

clerk of the said Court at 851 GRAND CONCOURSE, BRONX, NY 10451, in the City and State

of New York, within the time provided by law as noted below and to file your answer to the annexed

complaint with the clerk: upon your failure to answer, judgment will be taken against you erie

sum of $6,743.15 with costs and disbursements of this action. PAID

Dated: May 03, 2023 MAY 30 2023

Selip & Stylianou, LLP, Attorneys for Plaintiff
P.O. Box 9004, 199 Crossways Park Dr., Woodbury, NY 11797-9004 /
(516) 364-6006 ext. 8991; (866) 848-8975 ext. 8991; TTY/TRS: (516) 422-8500 CIVIL COURT

Refer to S&S File No. G1756067 BRONX COUNTY

Note: the law provides that (a) if this summons is served by its delivery to you personally within the
City of New York, you must appear and answer within twenty days after such service; or (b) if this
summons is served by delivery to any person other than you personally, or is served outside the City
of New York, or by publication, or by any means other than personal delivery to you within the City
of New York, you are allowed thirty days after the proof of service thereof is filed with the clerk of
this Court within which to appear and answer.

Defendant to be served:
ERIKA N WILSON, 3540 DECATUR AVE APT 1G, BRONX, NY 10467

By: Kt

UN 0 AA DONNA A. CIAMPA ESQ.
000 A A

Case 1:24-cv-04108-ALC Document 3-12 Filed 05/30/24 Page2of5

TRANSACCION DE CREDITO DEL CONSUMIDOR
IMPORTANTE! UD.HA SIDO DEMANDADO! ESTE ES UN DOCUMENTO
LEGAL - UNA CITACION NO LA BOTE! CONSULTE CON SU ABOGADO
ENSEGUIDA! LE PUEDEN QUITAR PARTE DE SU SALARIO (EMBARGARLO).
SI UD. NO SE PRESENTA EN LA CORTE CON ESTA CITACION LE PUEDEN
CONFISCAR SUS BIENES, (PROPIEDAD) Y PERJUDICAR SU CREDITO!
TAMBIEN ES POSIBLE QUE TENGA QUE PAGAR OTROS GASTOS LEGALES
(COSTOS ADDICIONALES)! SI UD. NO TIENE DINERO PARA UN ABOGADO
TRAIGA ESTOS PAPELES A LA CORTE INMEDIATAMENTE. VENGA EN
PERSONA Y EL SECRETARIO DE LA CORTE LE AYUDARA. ESTA
COMUNICACION ES DE UN COBRADOR DE DEUDAS Y ES UN INTENTO DE
COBRAR UNA DEUDA. CUALQUIER INFORMACION OBTENIDA SERA
UTILIZADA PARA ESE PROPOSITO.

CORTE CIVIL DE LA CIDUDAD DE NUEVA YORK

CONDADO DE BRONX
--- INDEX NUMBER:
SYNCHRONY BANK S&S FILE NO, G1756067
DEMANDANTE,
-V5.- CITACION
ERIKA N WILSON La direccion del demandante: 170 ELECTION RD
DEMANDADO. SUITE 125, DRAPER, UT 84020

La Razon de Haber Designado esta Corte es la

Residencia del Demandado
AL DEMANDADO ARRIBA MENCIONADO: USTED ESTA CITADO A COMPARECER EN
LA CORTE CIVIL DE LA CIUDAD DE NUEVA YORK, CONDADO DE BRONX a la oficina
del jefe principal de dicha Corte en 851 GRAND CONCOURSE, BRONX, NY 10451 en el
Condado de BRONX, Ciudad y Estado de Nueva York, dentro del tiempo provisto por la ley segun
abajo indicado y a presentar su respuesta a la demanda anexada al jefe de la Corte; si usted no
comparece a contestar se dictara sentencia contra usted en la suma de $6,743.15 incluyendo los

costos de esta accion,

Fechado: May 03, 2023

Selip & Stylianou, LLP, Attorneys for Plaintiff, Abogados de] Demandante

P.O. Box 9004, 199 Crossways Park Dr., Woodbury, NY 11797-9004

(516) 364-6006 ext, 8991; (866) 848-8975 ext. 8991; TTY/TRS: (516) 422-8500

Refer to S&S File No. G1756067

Nota: la ley provee que: (a) si esta citacion es entregada a usted personalmente en la Ciudad de
Nueva York, usted debe comparecer y responderla dentro de veinte dias despues de la entrega; 0 (b)
si esta citacion es entregada a otra persona que no fuera usted personalmente o si fuera entregada
afuera de la Ciudad de Nueva York, o por medio de publicacion, o por otros medios que no fueran
entrega personal a usted en la Ciudad de Nueva York, usted tiene treinta dias para comparecer y
responder la demanda, despues de haberse presentado prueba de entrega de la citacion al jefe de esta

Corte.

Demandado citado:
ERIKA N WILSON, 3540 DECATUR AVE APT 1G, BRONX, NY 10467
Case 1:24-cv-04108-ALC Document 3-12 Filed 05/30/24 Page 3of5

CIVIL COURT OF THE CITY OF NEW YORK

COUNTY OF BRONX
SYNCHRONY BANK
PLAINTIFF, INDEX NUMBER:
-AGAINST- S&S FILE NO, GI756067
ERIKA N WILSON COMPLAINT
DEFENDANT.

Plaintiff, by its attorneys, complaining of the Defendant(s), respectfully alleges that:

1, Plaintiff is a savings bank organized pursuant to federal law. Plaintiff is a direct creditor and not a
debt purchaser, and as such is not required to be licensed by the NYC DWCP.

2. Upon information and belief, the Defendant(s) resides or has an office in the venue in which this
action is brought, or the Defendant(s) transacted business within the venue in which this action is brought,
either in person or through an agent, and the instant cause of action arose out of said transaction.

3. Based upon a reasonable inquiry, the Statute of Limitations for the causes of action asserted

herein has not expired.
FACTS

4. A CareCredit-branded revolving credit account (hereafter the "Account") was opened in
Defendant's name, subject to the terms and conditions provided, or made available in electronic format, to the
Defendant (the "Agreement"). A copy of the charge-off statement is attached hereto, Plaintiff is the original
creditor (as defined in NY CPLR § 105(q-1)) and owner of the Account.

5. Defendant used the Account and incurred a balance. The last four digits of the Account number
on the most recent monthly statement recording a purchase transaction, last payment, or balance transfer (the
"Last Activity Statement") are 6252, and the balance owed as set forth in the Last Activity Statement was
$5,774.76.

6. Defendant breached the terms of the Agreement by failing to make the agreed-upon payments
when due.

7. Demand for payment of the Account was made on Defendant, but Defendant failed to make all
the required payments. The Defendant's last payment was made on or about April 19, 2021 in the amount of
$221.00.

8 Asaresult of Defendant's default, the Plaintiff closed the Account and subsequently charged it off
on November 15, 2021 in the amount of $6,743.15, as reflected in the attached statement.

9, The balance currently due and owing is $6,743.15, itemized as follows:
Case 1:24-cv-04108-ALC Document 3-12 Filed 05/30/24 Page4of5

Balance due at time of charge-off: $6,743.15
Plus total amount of interest accrued since charge-off: $0.00
Plus total amount of non-interest charges or fees since charge-off: $0.00
Plus total amount of dishonored payments: $0.00
Less total amount of payments and/or credits since charge-off: $0.00

AS AND FOR A FIRST CAUSE OF ACTION
10, Plaintiff repeats and realleges each and every allegation contained in the foregoing paragraphs as
if more fully set for herein.
11. Asaresult of Defendant's breach of the Agreement, and after crediting Defendant for all

payments and credits, there is now due and owing by Defendant to Plaintiff the sum of $6,743.15, no part of

which has been paid despite due demand therefor.

WHEREFORE, Plaintiff demands judgment against Defendant(s) in the amount of $6,743.15 together with
costs and disbursements.

The undersigned attomey hereby certifies that, to the best of his/her knowledge, information, and belief,
formed after an inquiry reasonable under the circumstances, the presentation of the within complaint and the

contentions therein are not frivolous as defined in part 130-1.1(c) of the rules of the Chief Administrator.

Dated: MAY 03, 2023
YOURS, E

By: oft

DONNA+FTIAMPA ESQ.

Selip & Stylianou, LLP, Attorneys for Plaintiff

199 Crossways Park Drive, Woodbury, NY 11797-9004
(516) 686-8991; (866) 848-8975 ext. 8991;

S&S File No. G1756067

Case 1:24-cv-04108-ALC Document 3-12

Filed 05/30/24

Page 50f5

CAREGREDIT/SYNf INY BANK ;
eee, ?
Summary of Account Activity Payment Information
Pravious Balance $6,703.15 | | New Balance $0.00
+ Now Purchases $0.00 || Total Minimum Payment Due $1,883.00
- Paymonta $0.00 | | Payment Oue Dato qui7/z021
eo erwin Face Shepinenin ($6,703.15) |] payMENT DUE BY 5 P.M, EASTERN ON THE DUE DATE.
#/._ Interest Charge (nat) 50.00 || We may convert your payment Into an alectronic dabit. See
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Pay online for freo at: mysynehrony.com
For Synchrony Bank customer servica or fo report your
card lost or stolan, call (1-866-893-7864).
Besl limes to call are Wednosday = Friday. |
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TOTAL FEES FOR THIS PERIOD 340.
INTEREST CHARGED
{Wi5/2021 1/18/2021 INTEREST CHARGE ON PURCHASES 30.00
TOTAL INTEREST FOR THIS PERIOD 50,00
2021 Totals Year-to-Date
‘olal Foos Chargad in 2021 $440.00)
Total Interest Charged In 2021 $2,692.18
Total [nteres! Pald in 2021 $0.00]
Interest Charge Calculation
Expiration Data Annual Balance Subject lo Interest Charge
Type of Balance Percentage Interest Rate
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Purehases RA 26.99% 50.00 50.00
Cardholder News & Information
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an authorized party. Ifyou wish to permit us lo spoak to an authorized party such a8 a spouse about your account, please sand
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print changed on back

ERIKA N WILSON

3540 DECATUR AVE APT 1G
BRONX NY¥ 10467-1734

IL

Make Paymeril to: SYNCHRONY BANK

PO BOX 960061
ORLANDO, FL 32896-0061
